Case 2:05-cr-20231-.]DB Document 14 Filed 08/03/05 Page 1 of 2 Page|D 11

IN THE UNITED sTATES DISTRICT CoURT ":""*` ""/%m§ 3-‘3
FoR THE WESTERN DISTRICT oF TENNESSEE G_F in _2
WESTERN DIvIsloN 3 @UJ ~3 mt l l= !.§Ll

 

UNITED STATES OF AMERICA

 

V- 05-20231-B

MARCUS TALLEY

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 93 ' 3 - O 5 , the United States Attomey
for this district appeared on behalf of the government, and the defendant appeared in person and With
counsel:

NAME p¢ H'G,r¥*f`*`n {§Y` gnépjo /J‘JL€€/z Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

/_’ The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

M,,. fda

UNITED STATES MAGISTRATE .TUDGE

CHARGES: 18:922(g);

U. S. Attorney assigned to Case: K. Earley

Age: 2 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-2023l Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

